

Matter of Barton (Commissioner of Labor) (2017 NY Slip Op 08793)





Matter of Barton (Commissioner of Labor)


2017 NY Slip Op 08793


Decided on December 14, 2017


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2017

525071

[*1]In the Matter of the Claim of PATRICK L. BARTON, Appellant.
andCOMMISSIONER OF LABOR, Respondent.

Calendar Date: October 24, 2017

Before: Peters, P.J., Egan Jr., Lynch, Clark and Pritzker, JJ.


Patrick L. Barton, Rochester, appellant pro se.
Eric T. Schneiderman, Attorney General, New York City (Gary Leibowitz of counsel), for respondent.



MEMORANDUM AND ORDER
Appeal from a decision of the Unemployment Insurance Appeal Board, filed October 13, 2016, which ruled that claimant was disqualified from receiving unemployment insurance benefits because he voluntarily left his employment without good cause.
Decision affirmed. No opinion.
Peters, P.J., Egan Jr., Lynch, Clark and Pritzker, JJ., concur.

ORDERED that the decision is affirmed, without costs.








